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Exhibit A
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D'Angelo & Hashem, LLC
ATTORNEYS & COUNSELORS AT LAW

6 Beacon Street
Suite 505
Boston, MA 02108

Tel: 617-624-9777
Fax: 617-624-0999

Simpson Financing Limited Partnership
d/b/a Highlands at Dearborn

8110 East Union Avenue, Ste. 200
Denver, CO 80237

Simpson Housing LLLP
8110 East Union Avenue, Ste. 200
Denver, CO 80237

SHLP Holdings, LLLP
8110 East Union Avenue, Ste. 200
Denver, CO 80237

First American Property & Casualty
Insurance Company

114 East Fifth Street

Santa Ana, CA 92701

RE: Our client/your Tenant/Insured:

May 26, 2009

QRS Financing, LLC
8110 East Union Avenue, Ste. 200
Denver, CO 80237

Colomba, LLC
8110 East Union Avenue, Ste. 200
Denver, CO 80237

Paloma, LLC
3201 South Tarmac Drive, Suite 200
Denver, CO 80231

Multifamily Community Insurance
Agency, Inc.

12395 First American Way
Poway, CA 92065

Leuise Felteau

Property location: Highlands at Dearborn
19 Dearborn Road
Peabody, MA 01960
Date of Loss: May 29, 2008
NOTICE OF CLAIMS

DEMAND PURSUANT TO M.G.L. CHAPTER 93A

Dear Sir or Madam;

This office was retained by Louise Felteau for her claim for property damage as a result
of the fire which occurred on May 29, 2008, at the Highlands at Dearborn apartment
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RE: Louise Felteau
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complex, building 8, in Peabody, Massachusetts. This is a formal demand letter
submitted pursuant to Chapter 93A section 9 of the General Laws of the Commonwealth
of Massachusetts. As such you will have thirty (30) days to respond with an offer to
settle this matter upon receipt of this letter. In addition to the foregoing, you are hereby
given notice of claims for negligence, negligent infliction of emotional distress, breach of
contract, breach of express and implied warrants of habitability, and interference with
quiet enjoyment.

INTRODUCTION

On May 29, 2008, Simpson Financing Limited Partnership was the record owner of the
property located at 8 Ashford Trail, in Peabody, Massachusetts, part of the apartment
complex known as the “Highlands at Dearborn.” It is part of the property purchased from
BVT/Fairfield Peabody Associates by deed of August 17, 2007.

Simpson Financing Limited Partnership d/b/a Highlands at Dearborn is controlled by
QRS Financing LLC. QRS Financing, LLC, is controlled by Simpson Housing LLLP.
Simpson Housing LLLP is controlled by Colomba, LLC. Colomba, LLC, is controlled
by SHLP Holdings LLLP. SHLP Holdings LLLP is controlled by Paloma LLC. Paloma
LLC is controlled by Donald A. Simpson. By virtue of their interoperation, any liability
of Simpson Financing Limited Partnership extends through each entity through and
including Paloma, LLC. Notice and demand are, therefore, made to all such entities.
Unless referenced by individually, the foregoing shall be collectively referred to as
“Simpson”.

This Notice and demand is sent to you on behalf of Louise Felteau (hereinafter
“Claimant”) for the recovery of her losses sustained in the fire which occurred on May
29, 2008, at the Highlands at Dearborn apartment complex. As a result of the negligence
of Simpson in its failure to remove a known fire hazard, bark mulch that was ignited on
previous occasions, the Claimant suffered substantial losses of personal property when
the building located at 8 Ashford Trail caught fire and burned to the ground. The
Claimant is aggrieved by virtue of the negligence and practices in violation of applicable
statutory law and established precedent. Claimant, Louise Felteau has sustained
emotional and financial losses as set forth below.

FACTS
A. Lease Signing and Sale of Insurance

On or about December 5, 2007, the Claimant renewed her lease with Simpson in Peabody
Massachusetts. Her lease was to commence on December 10, 2007, and would be for a
term of one year. Claimant rented the apartment known as 8212 at 8 Ashford Trail,
Peabody, Massachusetts. This property was managed by Simpson Property Management.
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The Claimant purchased renter’s insurance through an employee of Simpson when she
entered into her initial lease. The sale of this policy was mandated by Simpson. The
policy was produced by First American Property & Casualty Insurance Company and
offered by Multifamily Community Insurance Agency, Inc. The policy was sold by a
leasing agent of Simpson, who was not a licensed insurance agent.

Under duress and against public policy, the Claimant was told that she would not be
leased an apartment unless she chose one of the two options for insurance policies,
neither of which was explained to her. The amounts of coverage for each policy were
never disclosed. The types of coverage were never disclosed. As a result of the pressure
sales tactics exerted upon her, Claimant chose more expensive of the two policies and
signed her lease. Subsequent to the Claimant entering into her lease, she obtained
additional insurance.

B. The Fire

There were many fires at the Highlands at Dearborn complex preceding the fire on May
29, 2008. There were fires on May 21, 2007, January 15, 2008, and February 19, 2008.
Additionally, there were three fires at the complex at various buildings in the days
immediately preceding and the days immediately following the fire on May 29, 2008.
Those fires occurred on May 19, 2008, May 21, 2008, May 25, 2008, May 30, 2008, and
June 1, 2008. See Exhibit B. (individual reports). Careless disposal of smoking
materials caused dry wooden mulch to catch fire on those dates. The mulch surrounding
the buildings at the Highlands at Dearborn created an extremely hazardous condition due
to the mulches’ flammability characteristics.

Simpson was aware of the serious fire hazard the mulch posed. However, in response to
these fires, no warnings were given nor were steps taken to remove the mulch. Rather,
residents were asked to dispose of smoking materials to avoid a displeasing aesthetic.
Yet, as evidenced on page 4 of the Fire Investigation Summary Report for the fire which
occurred on May 29, 2008, there was evidence produced by the Highlands that they were
aware of the potential hazards of the careless disposal of smoking materials combined
with the type of mulch that was present on the premises created a fire hazard.

At approximately 3:30 p.m. on Thursday, May 29, 2008, Highlands at Dearborn, 8
Ashford Trail, also known as Highlands at Dearborn Building 8, caught fire and was
destroyed in a four-alarm blaze. Louise Felteau was a tenant in the Highlands at Dearborn
Building 8. The fire that raged through 8 Ashford Trail in Peabody, Massachusetts was
started by the careless disposal of smoking materials. See Exhibit A (fire investigation
report). In a little over hour the fire consumed Building 8 burning it to the ground. The
fire was so intense that it caused damage to surrounding buildings in the complex.

Louise Felteau and many other tenants watched in horror and saw everything they owned
burn. Their beloved pets, all of their personal belongings, pictures of family, friends and
loved ones, souvenirs, memories and precious gifts destroyed.
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The Claimant lost of all of her personal property that was in the apartment at the time of
the fire. See Exhibit C. (personal property list). The Claimant has replaced a few items
that were lost in the fire. However, she can never replace the bond she had with her
beloved cat and can never replace the lost mementos from her life experience,
photographs, gifts, an extensive jewelry collection, and heirlooms.

Louise Felteau was shocked to learn of the fire when a friend whom she was with
received a phone call from Louise’s daughter who was frantic and told her that she had
been at the building and it was now on fire. Louise immediately traveled to the
Highlands apartment complex. Louise Felteau arrived at the Highlands at Dearborn
while the building was fully engulfed. She knew soon after she arrived at the building
that most of the pets in the building and were not rescued would ultimately perish. Louise
stood and watched the fire destroy the building and everything in it, including her eloved
cat.

Claimant was told by agents of Simpson that there were items saved and that they would
be placed in a secure area on site. There were very few items salvaged from the fire, and
the site which held the items was never secured against theft. Out of all of the items that
had been in her apartment a few photographs and other papers were all that survived the
conflagration. She was forced to revisit the site of the destruction and relive the fire for
nothing, compounding the emotional toll.

Subsequent to the fire, the Massachusetts State Police Fire and Explosion Investigation
Unit, Office of the State Fire Marshall, conducted an investigation into the fire to
determine its cause. The Fire Investigation Report issued by that office states that the
origin of the fire was in the area next to the rear center tower of the building. The cause
of the fire was determined to be the careless disposal of smoking materials in an area
where there was approximately a one inch layer of dry bark mulch.

When the Claimant attempted to contact the First American Property and Casualty
Insurance Company, she was informed that her policy covered only fifteen thousand
dollars in contents coverage. This information was in contravention of what the
employees of Simpson led the Claimant to believe when she was forced to purchase the
policy.

The fire displaced Louise Felteau. Financially and emotional devastated, she was forced
to move into a hotel for approximately least two weeks. She lost sporadic time from work
as a result of the fire. The Claimant has suffered emotionally as a result of the
devastation.

LIABILITY

A. Negligence and Negligent Infliction of Emotional Distress
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Simpson had a duty to Claimant to maintain the premises in a safe condition. Simpson
knew that there were unsafe conditions on the property, specifically in the form of the dry
mulch which caught fire repeatedly. It had notice and an opportunity to cure. Simpson
neglected, failed and or refused to ameliorate the hazardous condition. Aware that the
flammability of the mulch used around the buildings was a dangerous condition, the
Simpson should have taken steps to remedy the situation. The failure to do so constitutes
a breach of duty and negligence on the part of the Simpson. Simpson is responsible for
the Claimant’s property damage that was proximately caused by its negligence. And, as
set forth in Sullivan v. Boston Gas Co., 414 Mass. 129, 134 (1993), Simpson is
responsible for the emotional distress it inflicted on Claimant by its negligence.

B. Breach of Contract, Breach of Express and Implied Warrants of Habitability,
Interference with Quiet Enjoyment

By virtue of the destruction of the premises by fire, caused by the negligence as
previously set forth, Simpson has violated the terms of the lease, in breach of contract.
The lease guarantees that Claimant will be able to occupy the leased premises. See,
Apartment Lease Contract, Paragraph 1. That is now impossible because of the actions
and omissions of Simpson. Failure to provide the premises constitutes a material breach
of that contract. Simpson is responsible for all damages flowing from that breach,
including but not limited to, property damage and emotional distress.

Simpson has further breached the implied warranty of habitability as all parts of the
premises are in material violation of the minimum standards of habitability as expressed
in the State Sanitary Code, the State Building Code and other regulations. See, Boston
Hous. Auth. v. Hemingway, 363 Mass. 184 (1973). The destruction by fire has rendered
the premises uninhabitable. Simpson is responsible for all damages flowing from that
breach, including but not limited to, property damage and emotional distress.

 

Massachusetts law states that any lessor or landlord who directly or indirectly interferes
with the quiet enjoyment of any residential premises by the occupant shall be liable for
actual and consequential damages or three month’s rent, which ever is greater. See,
Mass. Gen. Laws, ch. 186, sec. 14. Here, by failing to remedy the hazard which
ultimately caused the fire, Simpson interfered with the quiet enjoyment of Claimant.
Simpson failed to act reasonably, so the natural and probably consequence was
interruption of Claimant’s rights. Simpson is responsible for all damages flowing from
that breach, including but not limited to, property damage and emotional distress, as well
as attorneys’ fees. See, Simon v. Solomon, 385 Mass. 91 (1982).

Additionally, Simpson failed to give the appropriate notice of the benefits payable under
Mass.Gen.Laws, ch. 175, sec. 99, 15thA. The foregoing violations of law also constitute
breaches of the contract. See, Apartment Lease Contract, Paragraph 29(3).

Cc. Violations of Massachusetts Insurance Law
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Simpson sold or attempted to sell property and casualty insurance directly to the
Claimant through their leasing agents, not through a licensed insurance agent. Only
licensed agents are permitted to sell such insurance. See, Mass.Gen.Laws, ch 175, sec.
1621. Simpson collected the insurance premiums, despite selling such insurance, in
contravention of Mass.Gen.Laws, ch. 175, sec. 164. See, Lease Addendum, Liability
Insurance Required of Resident, Paragraph 9.

Simpson, First American Property and Casualty Insurance Company (hereinafter “First
American”) and Multifamily Community Insurance Agency, Inc. (hereinafter
“Multifamily”), were required to use a standard application form that would have helped
Claimant assess insurance needs. See, Mass.Gen.Laws, ch. 175, sec. 98. Simpson falsely
represented that the specific insurance policy sold was a requirement of the lease and that
only two options were possible. Under Massachusetts law, a landlord is not permitted to
require a tenant to enter into any agreement, including an insurance agreement, the effect
of which is to indemnify the landlord. Mass.Gen.Laws, ch. 186, sec. 15. Such constituted
misrepresentation, reasonably relied upon by Claimant. It also constitutes a criminal
offense of obtaining payments of premiums by fraudulent representation. See,
Mass.Gen.Laws, ch. 175, sec. 170. Such further constitutes unlawful and unlicensed
insurance advice, in violation of Mass.Gen.Laws, ch. 175, sec. 177A-177D, as well as
criminal misrepresentation by the advisor, in violation of Mass.Gen.Laws, ch 175, sec.
181, and an unfair trade practice, in violation of Mass.Gen.Laws, ch. 176D, sec. 3(10).
Additionally, Claimant was never given the insurance contract required by
Mass.Gen.Laws, ch. 175, sec. 99, which failure prevented Claimant from knowing
precisely what was purchased and on what terms.

Collectively, the foregoing violations of chapter 175 are deemed unlawful. See,
Mass.Gen.Laws, ch. 175, sec. 3 & 194. Moreover, Simpson is directly liable for the
contracts of insurance sold. See, Mass.Gen.Laws, ch. 175, sec. 171. Because Claimant
reasonably believed that she was purchasing a contract sufficient to cover her property
losses in the event of fire, Simpson is fully liable for her property losses. First American
and Multifamily, in permitting the sale of what was deemed to be sufficient coverage
shall be held to that standard, per Mass.Gen.Laws, ch. 175, sec. 193.

Under Massachusetts law, common law misrepresentation claims provide the basis for
liability under the Massachusetts deceptive trade practices statute. Damon v. Sun Co.
Inc., 87 F.3d 1467 (1996). In this instance, the agents of Simpson misrepresented the
insurance policy which was sold to the Claimant, leading her to believe that she had more
coverage for property damage. Such misrepresentation was of a material fact. Whether
the leasing agent intentionally or negligently misrepresented the coverage which the
Claimant was purchasing, such a misrepresentation is a violation of Mass.Gen.Laws, ch.
93A, §2(a). See Glickman v. Brown, 21 Mass.App.Ct. 229 (1985). In addition, the
aforementioned violation of Mass.Gen.Laws, ch. 175, sec. 181, constitutes per se unfair
and deceptive practice. See, Mass.Gen.Laws, ch. 176D, sec. 3(12).

 

 
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Additionally conduct may be “deceptive if it could reasonably be found to have caused a
person to act differently from the way he otherwise would have acted.” Aspinall v. Philip
Morris Cos., 442 Mass. 381 (2004). In this case, had the Claimant had the insurance
policy fully explained to her she would have either purchased greater additional insurance
subsequent to entering the lease to fully insure her belongings, or would have obtained a
policy from a different insurer had she been informed that such a policy would fulfill the
requirements of the lease. It is notable that the Lease Addendum, Liability Insurance
Required of Resident form does not even identify First American or Multifamily, but
rather identifies Registry TLC, offered and produced by Multifamily and First American,
respectively, as the insurer. Simpson’s, First American’s, Multifamily’s failure to make
proper explanations constituted unfair and deceptive practices and were a willful
violation of Mass.Gen.Laws, ch. 93A. See Lodie v. Anton’s Cleaners, 1993 Mass. App.
Div. 29 (1993).

 

DAMAGES

Property Damage

The Claimant suffered a substantially loss, all of her personal property. The property that
was destroyed in the fire had an approximate value of at least one hundred eighty eight
thousand nine hundred ninety two dollars and two cents ($188,992.02). We are aware
that payments were made on the insurance policies which the claimant purchased.

Ms. Felteau must be compensated for her damaged property related to this fire.

The Claimant suffered emotionally as a result of the devastation caused by the fire.
Although it is impossible to attach a monetary figure to the losses, the trauma of the fire
itself should entitle Claimant to one hundred thousand dollars ($100,000.00). The loss of
the cat should entitle claimant to fifty thousand dollars ($50,000.00). The demand for her
emotional pain and suffering is one hundred fifty thousand dollars ($150,000.00).

Ms. Felteau must be compensated for her pain and suffering related to this fire.

DEMAND

In consequence of the aforementioned negligence, breaches, violations of insurance law
and by the violation of Massachusetts General Laws, chapter 93A, demand for
compensation in the amount of three hundred thirty eight thousand nine hundred ninety
two dollars and two cents ($338,992.02)is hereby made to satisfy all of the claims of
Louise Felteau. Such demand is confidential settlement communication and shall not be
admissible as evidence.
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The offer to settle this matter shall remain open for thirty (30) days. In the event
settlement is not reached, the Claimant reserves the rights to pursue her claims to their
fullest extent, including double or treble damages, costs and attorney’s fees, should such
be applicable.

RESPONSE TO DEMAND

Please be advised that if this demand is not accepted within thirty (30) days, the time
period mandated by the statute, my client Louise Felteau, will pursue all legal remedies
available to them, including the recovery of multiple damages, attorney’s fees and costs
under the Massachusetts General Laws Chapter 93A section 9. I respectfully anticipate
your timely response.

Sincerely,

Stephen L. D’Angelo
Counsel for Louise Felteau
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EXHIBIT A
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Case Number: 2008-117-0849

Controlling Case Number: None
Case Type: F30 Fire - Accidental

Report Creator: Sheryl A O'Donnell
Lead Investigator(s): Sheryl A O'Donnell Team: North

FIU Requested By: Insp. Joseph DiFranco from Peabody Fire Department
FIU Requested On:

Date and Time of 05/29/2008 at approximately 15:51 PM

incident:
Address/ Location of 8 Ashford Trail Peabody, MA
Incident:

Property Investigated .
' Type of Investigation: Fire a

Type of Property: Residential
Protection Systems:

Smoke Detector: Operational .
Comments: 8 Ashford Trail, Peabody, Massachusetts is a multi-unit residential structure with in

The Highlands at Dearborn luxury apartment complex comprised of 18 individual. .
apartment buildings. The subject property is more particularly described as a three
Story, wood framed, multi-unit (38 units) dwelling. The A side of the structure contained
garages on the first floor level. The foundation was poured concrete. The exterior was
covered by vinyl siding. The roof was-a pitched style covered by asphalt shingles with
& common attic space that extended the length of the building. Heat was provided by

forced hot air by natural gas.
Fourteen parked motor vehicles were also damage by heat and:smoke (Ma Reg:

46AF44, 89GC45, 74BY66, 541TJH, 31VZ79, 61BE56, 9SHM99, 56SY59, 44FM47,

a

27728, 462VFC, 34AM21, 15PB52, and 74NC60)

Fire Source
Cause of Fire: Accidental 7

Ignition: careless disposal of smoking materials
(cigarette butt)
Material ignited: bark mulch, wood, vinyl siding, common combustibles, etc.

Explanation:
NOTIFICATION/RESPONSE:

1. On Thursday, May 29, 2008 at. approximately 1551 hours Peabody Fire Department
received multiple 911 calls from-employees, residents, and ‘motorists on. -

Rte. 128 reporting a fire outside of The Highlands at Dearborn luxury apartment complex in
Peabody, Massachusetts. The Peabody Fire Department responded commanded by Captain
Joseph Daley. The fire location was at 8 Ashford Trail a multi-unit residential structure
containing 38 independent units. Later I learned, that first arriving police officers observed smoke
emanating from the front of Building #8 (8 Ashford Trail) and a small exterior fire in the rear
which extended upward along the center tower (Tower #2) in the immediate area of a bank of
natural gas meters. Fire moved quickly upward to the soffits and outward along the roofline, into
the common attic space, and vented through the roof. This fire went to four alarms before being
brought under control and extinguished. Exposure damage.due to intense heat and smoke resulted

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to adjacent buildings. (Buildings #9/ 9 Magnolia Way, #10/ 10 Overlook Trail, and #16/ 16 Sil
leaf Way) along with 14 parked vehicles. Four minor injuries were reported to fire fighters as <
result of this fire and several pets perished in the blaze. A public shelter was utilized at Salem

State College for displaced residents totaling approximately 250 persons. A secondary exterior

fire broke out to Building #11
(11 Magnolia Way) due to displaced hot ambers.

2. Subsequently, at approximately 1620 hours Peabody Fire Department contacted :
State Police Fire and Explosion Investigation Section in Stow requesting assistance with the
investigation. Trooper William Qualls contacted me directly and assigned me the investigation.
arrived on scene at 1710 hours along with Trooper Donald Bossi who assisted. We met with
Peabody Fire Inspector Joseph DiFranco Jr. and Peabody Police Detective Eric Ricci. A joint
multi-agency investigation into the origin and cause was initiated, therefore, this report represei
a collection of all pertinent investigative information. Beverly and Danvers Fire Investigation

Units also assisted with the initial investigation.

INTERVIEWS/IN VESTIGATION:

3. __ Witness interviews were conducted by members of the Peabody Fire and Police
Departments, State Police Fire and Explosion Investigation Section, along with Danvers and
Beverly Fire Investigation Units. A synopsis of the more pertinent interviews are as follows:

a I had an opportunity to speak with maintenance worker Scott Pickard
; who told me the afternoon of the fire (5/29/08) he was at Building #2 (2
Magnolia Way) with boss Andy Filippone trying to reset the fire panel which was sounding.

While completing that task co-worker Tom Dubois calls on the radio yelling there was a “Fire at
Building#8 ini the back!” Mr. Pickard explained that he and Andy both jumped into his truck an
drove to Building# 8. While on the way there Mr. Pickard told us he called 911. Mr. Pickard
described “a small fire on the ground the size of a water bottle with ash around it.” Mr. Pickard
further described that the wind picked up and the fire started to catch the siding. According to M’
Pickard, Tom Dubois had gotten a fire extinguisher and attempted to put it out but it didn’t work.
“In a heartbeat it was small then went to the size of the meters.” Mr. Pickard explained. Mr.
Pickard said they have had many bark mulch fires this year from people “flicking cigarettes”.

. According to Mr. Pickard as early.as Tuesday or Wednesday of this week behind Building# 7 (7
Silver leaf Way) was another fire causing exterior damage.

b. We also spoke with maintenance worker Thomas Dubois’

=. who told us he was working at Building# 8 (8 Ashford Trail) around 2:30pm cleaning
and vacuuming the front and back of all three levels of the middle tower then to the far left tower
and did the same. Mr. Dubois explained he finished up around 3pm then went to the shop behind
Building# 11 and #9. Mr. Dubois stated by then he could smell something burning and drove
around until he saw smoke at Building#8. The smoke was coming from the back and blowing to
the right According to Mr. Dubois who was out front at the time. Mr. Dubois went to the corner
of Building# 8 near the playground and saw the fire in middle of the back of Building# 8. Mr.
Dubois told us he ran up to the building and saw the mulch was on fire. He further described four

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spots that were flaming. Mr. Dubois got the fire extinguisher from the middle tower and tried t
put it out but it but it didn’t work. According to Mr. Dubois the fire was beneath the gas meter,
and it soon began to “flame up 10 inches to a foot” under the pipe area coming from the groun
Mr. Dubois explained there had been 3 to 4 recent mulch fires at The Highlands. Mr. Dubois

described putting one out near the clubhouse recently.

SCENE EXAMINATION:

4, The fire scene examination commenced on Friday, May 30, 2008 at approximatel
0900 hours once suppression efforts had been completed and all resources were gathered. This
examination was.conducted by Peabody Fire Inspector Joseph DiFranco Jr., Firefighter Chris
Dowling, State Police Sergeant Peter Cummings, Troopers Steven Cunningham, Peter Bramant
and I. Trooper Jay McCarthy of State Police Crime Scene Services was also on scene to assist
with documentation. Peabody Police, State Police, and Peabody Fire security details secured th:
structure until investigators returned to the scene. This examination consisted of observations o:;
the exterior and interior damage to the structure, which resulted from smoke, heat, and flames. I
essence, we observed the top two floors of the structure had been consumed by the fire on every
side. Essentially what remained was the garages on the first level most of which had ceiling
collapse along the A side. Extensive fire damage was observed along the C side of the structure
where we noted that the fire damage began low at ground level and consumed the majority of th
three floors above. Heavy charring to structural members and extensive collapse to the walls anc
floors was also observed in this immediate area, more notably in the center portion of the C wall

5. Investigators were unable to enter the interior of the structure due to the structural
collapse. We did visit Building# 3 (3 Silver leaf Way) which is an exact replica of the effected
structure in order to get a sense of the entire layout. After making all of the above observations
the scene examination focused on the C side exterior. Investigators agree that based on early
witness statements, and significant low fire damage observed we meticulously excavated the are;
just outside the middle tower (Tower #2) at the rear entrance taking care to examine the debris fc
anything out of the ordinary. As heavy structural debris were moved away from this area (walls,
doors, charred timbers, etc.) we uncovered a bank of four natural gas meters stacked (2 top/2
bottom) located along the C wall on the right of the entrance way approximately six inches
above ground level. The wall behind the bank of meters had the vinyl siding completely
consumed with the pressed particleboard underneath charred heavily. The heavy char began at th
poured concrete foundation and extended upward and out with a small section of the wallboard
burned through. Behind this C wall section at the meters was a small exterior utility closet that
housed a gas fired hot water heater and simple small storage. A detailed examination of this room
was conducted and its equipment was negative for any defect or ignition source. No fire damage
was located inside this closet and its structure was fully intact. Conversely, the steel entry door to
the left of the gas meter bank was catastrophic. Heavy char was also observed low on the
doorframe of this entrance and a support pillar standing approximately two feet forward from the
gas meter bank sustained extremely heavy char on the side facing inward toward the meters and
its char was also very low beginning along the concrete footing.

6. Continuing our examination we excavated the small debris remaining on the

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ground in front of the gas meter bank at the base of the poured concrete foundation. We were
to recover small pieces of bark mulch in this area, sections of gas meters, and regulators that
failed due the extreme heat. Continuing our efforts in this area we located several cigarette bu
filters on the ground just below the gas meter bank and to the right of the center tower entranc
walkway. Along with this discovery we also located a pack of cigarettes (Marlboro Lights) be
- the walkway covered over in the mulch. Investigators also excavated and examined the
underground gas line and feed to the meter bank with the assistance of heavy equipment expos
the two sections of piping. Tests were conducted as to the integrity of the piping with the
assistance of Keyspan and DTE, which were negative for any underground breeches.

CONCLUSION:

7, . Based on the scene examination, witness statements, early fire photography, and
“equipment observations, it is the collective opinion of the fire investigation team that the fire th
occurred at 8 Ashford Trail in Peabody on May 29, 2008 was accidental. All patterns support tl
theory that the area of origin was located on the exterior C side of the structure, in the immedia'
area next to the rear center tower (Tower #2) entrance just below a bank of natural gas meters.
The examination of the underground gas lines revealed no natural gas leak. All heat generating
appliances and fixtures have been eliminated as a possible ignition source. Investigators believe
that careless disposal of smoking materials was the ignition source to an area containing
approximately one inch layer of dry bark mulch which burned undetected until it extended to th
exterior vinyl siding (C side) which resulted in the eventual breech of the gas meters essentially
fueling the fire to an intense level ina short period of time. Investigators located evidence that
prior mulch fires had been both reported and unreported to authorities in just days prior to this
fire. Documents (5/21/07, 1/1 5/08, 2/19/08) produced by The Highlands were recovered
supporting the fact that The Highlands management were aware of the potential hazards of
cigarette disposal by residents and had instituted fines for violators. No evidence was found that

this fire was intentionally set. Case closed.

Respectfully submitted,

Sheryl A. O’Donnell, #2904

Trooper, Massachusetts State Police
Fire and Explosion Investigation Section
P.O. Box 1025, State Road

Stow, Massachusetts 01775

Evidence
No Evidence

Page. 4
Case 1:09-cv-11806-FDS "BURMA RARE” BHEFBAIYEREPOBage 15 of 42

- Photos
Taken By: Police Department

    

Description / Explanation / Comments:
State Police Crime Scene Services- Trooper Jay McCarthy #3025

K-9
K-9 Not Used

Page 5
Case 1:09-cv-11806-FD¢ "BdayARH eaten BREA MAMEREP Oa ge 16 of 42

Occupants

   

Page 6
rire investigation Sum é rt
Case 1:09-cv-11806-FDS Document {81 hiled Goya a/b sje 17 of 42

ee ce on eee’: soe MA 01960
Gardner, ous sa ea a i aoe, MA_01960

Maguire, Kim _— 8 Ashford Trail #808 Peabody MA 01960
Squeglia, Jessica g 8Ashford Trail #809 Peabody, MA O19
Co Saag Trafl#813 Peabo , MA 01960
ee cae
Zizza, Frank a= Trail #817 5 ame MA_.01960
Zizza, Michael ot “a wy ee MA 01960,
Schreiner. a cp Ashton Trail #819 Peabody, MA 01960
Morando, Edward _-- 8 Ashford Trail #825 Peabod MA 01960

lacopino, Fabio --.8 Ashford Trail #826 Peabody, MA 01960
DOB: Unknown,

Vames, Charles — 8 Ashford Trail #828 Peabody, MA 01960
_. ~ SSN: Unknown, |

Houston, Rebecca _-— 8 Ashford Trail #828 Peabody, MA 01960
GEER SSN: Uninown, (ieemeatiorten
Dilorio, Emilio ~ 8 Ashford Trail #829 7 ee WMA 07960

Grant, Pamela -- 8 Ashford Trail #833 Peabod MA 01960

  
 

 
 

  

U

 

DOB: Unknown, Gas oo ee

Carmichael, Marisa ~ 8 Ashford Trail #834 Seo MA 01960

Jackson, Tabitha -- 8 Ashford Trail #835 Peabody, MA: 01960

*

Moise, Anthony — 8 Ashford Trail #8 Peabody, MA 0196
a ee

Peabody, MA 01960

 
 

  
 
   

      
 

   

 

   

Peppe, Tanya -- 8 Ashford Trail #837
Caissie, Crystal — 8 Ashford Trail #839 Peabody, MA 01960
SB ee oS er eg

           

Page 7
Case 1:09-cv-11806:FDS F Bedavestisation-fearoaasy Rep paige 18 of 42

Miller, fan ~- 8 Ashford Trail #8010 Peabody, MA 01960
DOS: Unknown, cs Sree:

oe Za _- 8 Ashford Trail #8010 Peabody, MA 01960

Picardi, Matt -- 8 Ashford Trail #8011 Peabody, MA 0196
008: Uningn, SR Gate

Clarke, Meg -- 8 Ashford Trail #8014 Peabody, MA 01960
DOB: Unknown,

Dingle, Jeff_— 8 Ashford Trail #8110 Peabody, MA 01960

Mistretta, Jennifer_— 8 Ashford Trail #8210 Peabody, MA 01960

ee ee -- 8 Ashford Trall.#8210 Peabody, MA 01960

Felteau, Sabrina _— 8 Ashford Trail #8212 Peabody, MA: 01960

Felteau, Louise _-- 8 Ashford Trail #8212 Peabody, MA 01960

oe

Choo, Amanda --8 Ashford Trail #8311 Peabody, MA 01960
» SSN: Unknown,

Takach, Paul - 8 Ashford Trail #8311 Peabody, MA 01960
SSN: Unknown,

McLaughlin, Rick -- 8 Ashford Trail #8312 Peabody, MA 01960

oe On earaeee --- 8 Ashford Trail #8312 ea MA 07860

locco, Maria -- 8 Ashford Trail #823 ge oe. sus 0196
‘DOB: Unknown, SSN: Unknown Le ee

  
 
  
  
  

 

lapicca, Suzanne -- 8 Ashford Trail #808 serra
DOB: Unknown, SSN: Unknown |

Amorim, Joyce - 8 Ashford Trail #818 Peabody, MA 01960
DOB: Unknown, SSN: Unknown, Phone: Unknown

Cagliuso, Theresa -- 8 Ashford Trail #818 Peapod
DOB: Unknown, SSN: Unknown, oe

Torra Jr., Anthony -- 8 Ashford Trail #824 Pecos Me 0 g
DOB: Unknown, SSN: Unknown, Ge

German, Grey — 8 Ashford Trail #827 Peabody, eee 0 9
DOB: Unknown, SSN: Unknown, Wa

Page 8
Case 1:09-cv-11806-Fps HSclhventigaton Ruraaa) Repobe 19 of 42

Sargent, Rebecca -- 8 Ashford Trall #827 0
DOB: Unknown, SSN: Unknown,

O'Reilly, Franceska -- 8 Ashford Trail #835 Peabody, MA 01960
DOB: Unknown, SSN: Unknown, :

Peabody, MA 01960

Moise, Anthony _-- £8 Ashford Tail #837

    

Injuries
Rhueame, Paul -- 47 Lowell St. Peabody, MA 01960

DOB: Unknown, SSN: Unknown, Cem. Injury Status: Injured — Fire Fighter
Kolodziej, K ---47 Lowell St. Peabody, MA 01960

DOB: Unknown, SSN: Unknown, Injury Status: Injured -- Fire Fighter
Martin, Michael — 47 Lowell St. Peabody, MA 01960

DOB: Unknown, SSN: Unknown, eS Injury Status: Injured -- Fire Fighter
Lynch, Paul C ~ 47 Lowell St. Peabody, MA 01960

Injury Status: Injured -- Fire Fighter

DOB: Unknown, SSN: Unknown,

Owner

Associates, LLP, Fairfield Peabody —P,O.Box 1282 Boston, MA 02117
DOB: Unknown, SSN: Unknown, Phone: Unknown

Reported By & | |
a a aos = = Peabody, MA ne

Discovered By
Dubois, Thomas : — § econo a ie Peabody, MA 01960

 

 

Page 9
Case 1:09-cv-11806-FDS ‘HéclihertigationiRurameeyBensabe 20 of 42

Witnesses

 

O'Keefe (firefighter), Timothy - 47 Lowell St. peabouy, MA 01960
at SSN: Unknown, (aaa z

 
 

Desmond (fire fi ihter), Robert F — 47 Lowell St mgabody. MA 071960
SSN: Unknown,

Daly (Peabody Fire), Joseph L -- 47 Lowell St. Peabody, MA 01960
ee

MA 01960

  
 
  
 

 
  

Jacavanco (fire fi ghter), William -- 47 Lowell St. Peabod
| =.=. SSN: Unknown, ee

Lynch (fire fighter), Steven -- 47 Lowell St. eabod MA 07960
. ee SSN: Unknown, es

Pereira, Joseph -- 1413 Silverleaf Way Peabody, MA 01960
SSN: Unknown,

Maurice, Perry -- 16 Silverleaf Way #24 Peabody, MA 01960
DOB: Unknown, SSN: Unknown, (geeaeeeeineerrens:

Pickard, Scott — im Dooling Cir, Peabody, MA 01960.
Dubois, Thomas G — 2 Magnolia a #221 Peabody, MA 01960

Filippone, Andrew -~- Unknown Address posbod , MA 01960

 

Rossino, Louis M — 15 Siiverleaf Way #1514 Peabody MA 01960

Lilly, Andy 16 Silverleaf Way #1635 Peabody, MA 01960

 

Page 10
Case 1:09-cv-11806-FDS Document 181 Filed 08/28/13 Page 21 of 42

EXHIBIT B
 

. : ona 4 seein enero Marrative
ee Case 1 Oey TIB06-EDS Document 181 Filed Os/8/is* PagG®or of 42 [_meative |

Narrative:

Caller Name : CERULLI, JUSTIN

Caller Phone : (978) 278-5696 COID=CMCST
2008/05/19 11:15:46 - Engine 5 AT EVENT MANNING Is 3

askelton ;

askelton ; 2008/05/19 11:15:57 - CAR 2 AT EVENT MANNING IS 1

askelton ; 2008/05/19 11:16:22 - Engine 3 AT EVENT MANNING IS 3
& 4

askelton ; 2008/05/19 11:16:51 - Engine 1 AT EVENT MANNING I

911 ; 2008/05/19 11:06:45
Time of Call : 2008/05/19 11:06:41

Phone Number : (978) 278-5696 COID=céMcsT

Caller Name : CERULLI, JUSTIN

Street Number : 9

Street Name : MAGNOLIA Wy

Service Municipality : PEABODY

ESN : ESN=335 MTN: 978-278-5696

askelton ; 2008/05/19 11:11:12

FIRE ALARM RECIEVED A REPORT OF BURNING WIRES AGAINST A HOUSE

askelton ; 2008/05/19 11:11:27

FIRE ALARM STRUCK BOX 875

askelton ; 2008/05/19 11:21:28

ENGINE 5 REPORTS A SMALL MULCH FIRE POSSIBLY SPREADING TO THE BUILDING

Engine 5 remained on scene and emptied their whole tank on the mulch as a precaution.
K2 also en route to the scene at 11:46.

K2 on scene 11:56.
Engine 5 and K2 Returning from the scene at 12:08

 

sabody Fire dept 032239 05/19/2008 XX-XXXXXXX
. Kee

Lew ww was ¥ ae

Chack this box te Indicate that the address for this ‘incident ie provided on the on the Wildland ?ire

B Location#

Hedule In Section B “Aiteraative Location Specification". Use only for Wildland fires.

WS

7H * Case THE CPTTHOREDS DocumerfETet Fige OE Per a Patiees df AT Inc tivity

| Basic

Census Tract L I-L |

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front
on | | [PEABopy | Ima_J lor960 {-| |
on ju Ek Apt, /suite/Room City State Zip Code
acent to
|
[]eirections Cross street or directions, as applicable j

 

@ Incident Type *

1401 | Imuich Fire
ncident Type

D Aid Given or Receiveda

—_

 

 

 

 

Midnight is 0000

1 Date & Times

Saree Boxes 38 Month Day Year Hr Min Sec
same ag Alarm ALARM “ee required
‘Date. Ayarm & | of | 21) [ 2008/|10:49:09 |

 

ARRIVAL required, unless canceled or did net arrive

 

 

E2 Shift « Alarm
"Metal Option

3

Shift or Alaraa District

Plateon

 

 

1 []Mucual eid received ae
2 Flautomatie aid recv. |i ias aie (] arrivaiw [05] |. 23] { 2008/(/10:54:32 | E3 )
3 [[]Mutual aid given State CONTROLLED Optional, Except for wildland fires Special Studies
4 [Jaucomatie aid given | | || [conexciiea L ff] fi if | Local Option
5 []Other aid given © inet inet oe UNIT CLEARED, required exéept for wildland fires” | | |

o Number Last Unit .
 [X]one , mleered | 05} [22] | _2008|frrca6224 |] Bigeie =| SN

 

 

fF. Actions Taken «

[Lo | [Five control. or
‘Primary Action Taken (3}

[ ||

Additional Action Taken {2}

 

Suppression | 0003) | |

 

Resources &

Check this bex and skip this
section if an 1 atus Or
form is used.

apparatug Peracnnel

Gi
O

Property $|

Contents $|

== {___| |___|_

 

{|
J. |

G2 Estimated Dollar Losses & Value:

LOSSES: Required: for ali fires if known. Optional
for non fires.

Rone

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O

000/,| 600]
600},| 000]

PRE-INCIDENT VALUE: Optional

 

 

 

 

 

 

Additional action Taken (3) Check box if resource counts .
include aid received resources. {Contents $| |-| 000], | 600) 0

-ompleted Modules/ #714 Casualties{_wone |fr3. Hazardous Materials Release I Mixed Use Property
xX) Fire-2 Deaths Injuries (N ["]None OD ee ee
—]structure-3 Fire | | | | i []eetura2 GAS: srow leak, so avavation or Hasiint actions 26 Eduoatica ame
“J]Civil Fire Cas.-4 Service 2 []Propane gags <2: a». cask tas an bene BOQ grill} 33 | jMedical use
“|Fixe Serv. Cas.-5 Civiidan| | | j 3 []easoline: vehicla fea) tank ox portable costeiner 2° for ot stew

_] EMB-6 fig Detector 4 []erosene® tect turing equipsent ox portabhy storage 53 Plenclosed walk
~)HazMat~7. Required far Confined Fires. 5 (]Piesei £uel/fiuel olliventete eued cook of portable 58 Bug. & Residential
“Wildland Fire-8 1 [[Jpetector alacted ccoupants [8 []H#ousehold solvents: rosc/efsice spilt, aiesup ety| 59 | Office use
X]Apparatus-9 1 ]7 [[]Motox of1: seas engine ov portable container 68 jeeaustrial use
¥X]Personnel-10 2[ ]ootector did net alert then 8 []paint: free gaint cans wotaling < 55 gallons 65 Farm wee mee
.]Arson-11 [7] caknown © []other: Special Mosier actions roquined ox optll > S5gel., G0 [Other mixed use

¢ 2oop. J Ore

 

 

 

Uo Property Usex Structures

131 ([[]Church, place of worship
161 [_]Restaurant or cafeteria
L62 []Sar/Tavern or nightclub
213 []¥lementary school or kindergarten
215 (]#igh school or junior high
241 [] College, adult education
341 []Care facility for the aged
331 []#ospital

Outside
124 [Playground or park
§55 []Crops or orchard
669 []Forest (timberland)
807 []Outdoor storage area
319 []Dump or sanitary landfill
534 [open land or field

eabody Fire dept

 

 

341 []Clinic, Giinie ‘type infirmary. §39 []Household goods, sales, repairs
342[ ]Doctor/deatist office
361[]Prison or jail, not juvenile
419[] l-or 2-family dwelling
429 [X] Multi-family dwelling
439 []Roaming/boarding house
449 [[] Commercial hotel or motel
455 []Residential, board and care
464 OO Dormitory/barracks

513 [J Feod and beverage sales

936 []Vacant lot
938 [[Graded/care for plot of land
546 []iake, river, stream
951 []Railxoad right of way
960 []other street

961 []Highway/divided highway
962 []Realidential street/drivaway

579 [|Motor vehicle/boat sales/repaix
571 []Gae or service atation

599 [] Business office

615 []Flectric generating plant

629 [] Laboratory/science lab

700 []Manufacturing plant —

S19 [Juivestock/poultry storage (barn)
@82 []Non-residential parking garage
eo [[] Warehouse

981 [] Construction site

984 [] Industrial plant yard

Lookup and enter.a Progert: Use. sods onl &
you have HOT checked a pechert uty Use y 4

Property Use [429 |

[Multifamily dwelling
NFIRS-1 Revision 03/11/7399

03229 05/21/2008 08 -0602675

 
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WIR ye Casts:09 oval 886 -& D

Nariative:
Caller Name :

Caller Phone ;
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eee my me oy

AT&T MOBILITY,

(978) 239-4850 COID=<ATTMO

2008/05/21 10:54:32
2008/05/21 10:54:54
2008/05/21 10:55:10

2008/05/21 11:01:38

2008/05/22 11:01:41

911 ; 2008/05/21 10:49:09

Time of Call : 2008/05/21 10:49:05

Phone Number :
Caller Name :
Street Number
Street Name :

AT&T MOBILITY,

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Engine. 4 AT EVENT MANNING IS 3
Engine 5 AT EVENT MANNING IS 3
Engine 3 AT EVENT MANNING Is 3
K2 AT EVENT MANNING IS. 1
K3 AT EVENT MANNING IS 1

(378) 239-4850 COID=<ATTMO

2 4

DEARBORN RD

Service Municipality : PEABODY

ESN : ESN=601
Longitude « -0

MIN: 978-511-7541

70 .387794

Latitude : +042.522894

mpellizzaro ;

2008/05/21 10:56:35

(866) 915-S600

POLICE REPORT SMOKE COMING FROM APARTMENT 116

mpellizzaro ;

2008/05/21 10:56:50

$11 CALLER REPORT SMOKE IN AREA

mpellizzaro ;

2008/05/21 10:57:21

FA TRANSMITTED BOX 875

mpellizzaro ;

2008/05/21 10:57:58 /
Engine 4 REPORTED OUTSIDE MULCH FIRE

CODE C ALL COMPANIES

2008 XX-XXXXXXX G00 GompLete
Stumpanas busca Ls — Payee of 42 | warrative |

(866) 915-5600

E-4 responded caréless disposal of smoking material determined to be cause .Mulch fire

extinguished prior to arrival.

j1d0s22

 

sabody Fire dept

69225

05/21/2008

XX-XXXXXXX

 
Area Code ‘Shoda Musber

SUBLNGSE DEHG (LE ‘BPPlicaaie)

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Check This Box if -
Bamwe address ag Mx. ,Ms., Mzg, First Nawe Mame
incidemt locatica. ' Last

' Then -ekip the three | i | |
duplicate address Bumber Prefix Street or Righway

lines. .
| |

Bost Office Box Apt./Suite/Room = city

Ltt I-| |

State Zip code

[]xore people involved? Check this box and attach Supplemental Forms (NFIRS-1S) as necessary

P-L j

{2 owner [] Rm chetk this bor and skip ; of

The rest of this section.
Business name {if Applicable} Agea Code

Ls | | Plot

Check thig bex if Mx. .Ms., Mrs, First Name MI Last Mame
Same address as :

incident location. | | | | |

duptineee sevens Bunber Brefix Street or Highway

— | J tL _y |

Apt. /Suite/Rooa city

Lecal Option

Post Office Box

LJ j-| |

_ State Sip Code

3 Remarks

Local Optica
Caller Name : AT&T MOBILITY, (866) 915-5606
Caller Phone ;: (978) 239-4850 COID=ATTMO
mpellizzaro ; 2008/05/21 10:54:32 - Engine 4 AT EVENT MANNING IS 3
mpellizzaro ; 2008/05/21 10:54:54 - Engine 5 AT EVENT MANNING IS 3
mpellizzaro ; 2008/05/21 10:55:10 - Engine 3 AT EVENT MANNING Is 3
mpéllizzaro ; 2008/05/21 11:01:38 - K2 AT EVENT MANNING IS 1
mpellizzaro ; 2008/05/21 11:01:41 - K3 AT EVENT MANNING IS 1

ee we me we

-911 ; 2008/05/21 10:49:09
Time of Call : 2008/05/21 10:49:05

Phone Number : (978) 239-4850 COID=<ATTMO
Caller Name : AT&T MOBILITY, (866). 915-5600
Street Number : 4

Street Name : DEARBORN RD ;

Service Municipality : PEABODY

ESN : ESN«601 MIN: 978-511-7541

Longitude : -070.987794

Latitude : +042.522894

mpelligzaro ; 2008/05/21 10:56:35

POLICE ‘REPORT SMOKE COMING FROM APARTMENT 116
mpellizzaro ; 2008/05/21 10:56:50

911 CALLER REPORT SMOKE IN AREA

mpellizzaro ; 2008/05/21 10:57:21

FA TRANSMITTED BOX 875

mpelligzaro ; 2008/05/21 10:57:58

on ae

=; Authorization
| 6887 _ | [O'Keefe; Timothy [ [FR | [ee
O£ficer in charge ID Signature Position or rank Assignment.

exit [] [7220 — | [Perrone, Ernest A | LFF | [8
Position or rank Assignment

3 Officer Member waking report ID Signature
m charge.

rabody Fire dept 83229

Case 1: 09- “Cv, 14806- FDS Document 184, pid 98/28/13 Page 25 of 42

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Street Type

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wg) Property Usee

‘E31 [[]Jehurch, place of worship
-161 [] Restaurant or cafeteria
162 []Barc/Tavern or nightclub
213 []Blementary school or kindergarten
215 []#igh school or junior high
241 []College, adult education
311 [care facility for the aged
331 []Bospital.

Cutside
124 []Playground or park
655 [}Cropa or orchard
669 []Forest (timberland)
807 []Outdsor storage area

342["]Doctor/dentidt office
361[ ]Pxieon or jail, not juvenile
419[ ]4-or 2-family dwelling

429 (2) Multi-family dwelling

433 [-] Rooming/boarding house

449 ["]Commereiail hotel or motel
459[ ]Residential, board and care
464 [| Dormitery/barracka

519[]} Food and beverage sales

936 []¥acant lot

938 [eraded/care for plot of land
946 []lake, river, atream

951 []Raiiroad right of way

960 []oOther street

599 [] Business off

700 f)

691 [] Warehouse
981 [] Construction

pesze4y  ) ™*#])— LSJ LS) L2Z008 J { jfOB-uGUaTBS || vVooT “Jonange ‘paste
mrp @ Case 6S cWE£806F BS Documer®i4 Filet#363/P6FE Se Pagecete Of Abas accivity
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ineldent Type game as Alara ALARM always required [3 | | { {
:—pD Aid Given or Receivedy pate: Alarm ¥ Los} | 25] |___ 2008] [20:04:19 | shige ce Xlame Bletrict
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1 [}Mutual aid received , a | —
tL Arci OS 25 2008 vi2e
2 [[Jautomatic aid recv. [their rozp Their C val % {os} | I | 00 | [20212233 | E3
3 []Mutual aia given State CONTROLLED Optional, Except for wildland fires Special Studie:
@ [[]Automatic aid given | | [[]controried | 1 { I] iT j Local option
s [[Jother aid given meter tast U mie UNIT CLEARED, required except for wildland fires
NN [None —_—_ Cleared | O5| | 25] | 2008)(20:29:12 || stuay zon —esay Yatue
FF Actiong Taken « Gi Resources * G2 Estimated Dollar Losses & Value:
Co) eect oehte Bex eneeonse aot LOSSES: required for alt fires if knoim. optional
1503 | |Wash Down | Personnel form is used. Ron
= Se Apparatus Personnel |property §| [-L__000],[_ 000) fF
, r | Suppression | J Ld Contents §| {,{. @00].] 000} oO
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[[] Fire serv. Caz.-5 Civilian| [ | j 3 [JGasolinie: ventere tei tank or portable costaioar Hy Reet senriat use
“6 ° 1 of stores
(jess He Detector # [[]Rerosene: tect naming eqeigeent 0 Dortahie storage 53 [|Baclosed mail.
(JHezsMat-7 “Required for Confined Fires. [5 [JDlesel fuel/fuel oilivenicis cect tak se portance] 58 [Ipus. & Residential
[[]Wiidiand Fire-+6 1 [Jootecter alatted occupants |5 [_]Household solvents: nene/ottice apttl, cleanup oaty| 59 | [Office use
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- 7 []sotor O11: ezes esgive ox portuble container 63 Eilita: use
[=] Personnel-10 2[[]oetectox did not alert then | 9 []Paint: exon paint cane toisiieg < 55 gallead é5 ar
[Jarson-12 PO [_] vaknows 0 []other: » Special Reniiak actions sequired ex spill > SSget., 00 [other mixed use
7 . Lease soupie 4 ETE
Structures 341[]Clinic,clinic type infirmary 539 [] Household goods, sales, repairs

579 []Motor vehicle/boat sales/repair
571 [[} Sas ox service station

ice

615 [[] Blectric generating plant

629 [J Baboratory/science lab
Manufacturing plant ,

815 []tivestock/poultry storage (barn)
882 [[] Non-residential parking gerage

site

984 [] Industrial plant yard

Lookup. and enter a Propert: Use code onl if
you pave NOT checked a property Use *

Property Use [429 |

919 []Dump or sanitary land£ili
931 [open land or field

’eabody Fire dept

961 []Highway/divided highway
962 [Residential streat/driveway

IMultifamily dwelling

os229 05/25/2008

NPIRS-1 Revision 03/11/99

O8-0002784 |
 

Lecal Opti-n
aad cv-11806-FDS Document. nt 181, Filed 08/26/13 Page 2? of42 "=" 4

 

 

Case
Check This Box 4£ Hr. ,s., J Pirst Name Mx Last Name Bullix
incident locati
thee fe ay ewe | Lot Jt LJ
dupli cate reas aber Prefix Street or Highway Street Type Buttix
I } | jf |

 

Post Office Box Apt./Suite/Room city

‘State Zip Code
[[] More people involved? Check thia box and attach Supplemental Forms (NFIRS-18) aa necessary

 

 

 

 

 

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The rest of this section.
Lecal Option Business name (if Applicable} Axea Code Phone Number
| | | Lot Lo
Check this box if Mr, .Ms.. Mes. Piret Name MI Last fame Sukéix
game. address as . ,
then stip tre tece | 1 Lol | | } Lo
duplicate address Humber. Prefix Street or Highway Stzeet Type 7rd
lines.
a | } | J | |

 

 

Post Office Box Apt. /Suite/Room = city

LJ | I-| |

State zip Code

°, Remarks
Lecal Optica .
Caller Name : AT&T MOBILITY, (866) 915-5600

Caller Phone : (828) 719-8168 COID=ATTMO
admin ; 2008/05/25 20:12:33 - Engine 5 AT EVENT MANNING IS 3

911 ; 2008/05/25 20:04:19
Time of Call : 2008/05/25 20:04:14

Phone Number : (828) 719-8168 COID=<ATTMO
Caller Name : AT&T MOBILITY, (866) 915-5600
Street Number : 4

Street Name : DEARBORN RD

Service Municipality : PEABODY.

ESN : ESN=601 MTN: 978-511-7431
Longitude : -070.992215

Latitude : +042.522513.

ddean ; 2008/05/25 20:19:41

BUILDING 15
Engine 5 arrived, the fire was out , we wet it down ret.

 

‘, Authorization

 

 

 

 

 

j1468 | | Kimber, James W | LFF! | [es rh 054 | 25] L 2008]
officer in charge ID Signature Position or rank Assignment: Month Day Year
for ie fx] L468 | |Kimber, James W [FF | {E5 | £05; £25) | 2008]
e aS eticer Member making report 2D Signature ‘Position er rank Assignment Moath Day Year
AH charge.
09229 «©=-05/25/2008 XX-XXXXXXX

rabedy Fire dept
 
 

- aaa enema vagy Exposure Loo" |

Narrative€ase 1:09-cv-11806-FLS Document Let

Caller Name : ATET MOBILITY, (866) 915-5600
Caller Phone : (828) 719-8168 ‘COID=ATIMO
admin ; 2008/05/25 20:12:33 - Engine 5 AT EVENT MANNING IS 3

 

S1i ; 2008/05/25 20:04:19
Time of Call : 2008/05/25 20:04:14
Phone Number : (828) 719-8168 COID=ATTMO

Caller Name : AT&T MOBILITY, (866) 915-5600

Street Number : 4
Street Name : DEARBORN RD

Service Municipality : PEABODY
ESN : ESN=601 MIN: 978-511-7431
Longitude : -070.992215

Latitude ; +042.522519

ddean ; 2008/05/25 20:19:42
BUILDING i5

Engine 5 arrived, the fire was out s we wet it down ret.

 

 

abody Fire dept 03229 05/25/2008. XX-XXXXXXX
— Eee ay

LJ Me Activity |

'B  necatadaase 1:09- DER Raya ae AEP APOE 2 Belle atc | I-L |

| IL

 

 

 

Ee) St: & add
zis zee ae t 19] |__| [Macwoznza way
= cd ACersection Number/Milepost Prefix Street or Highway Strest Type Sabtix

£: £ 1
pe rent o { | | PEABODY: | a | {01960 I-b.
re 2 et apt./suite/Roos City * ‘State gip Code

acer oO

;

[]>4rections Cross street or directions, as applicable

 

C Incident Type ¥

 

 

 

 

 

 

E1 Date & Times Midnight ie 0000

| Ei2 Shift & Alarm

 

 

 

 

 

1401 | [Mulch Fire || check boxes 1¢ Month pay Year Hr Min sec Local Option
incident Type : game as Alarm § ALARM always required |4 i
D -Aid@ Given or Receivedy pate. = Alarm & Los} | 39] | 2008) [25:16:17 ] shift or Alarms District

. . Platoon

ARRIVAL required, unlegs canceled. or did not arrive
1 [[]Jmetual aid received
: | 30 2008[//15:18:25
2 [[JAutomatic aid reev. [sear pprp Their || [] Arrival » [ o5 l | | {| | E3
3 []Mutual aid given State CONTROLLED Optional, Except for wildland fires Special Studie:
@ [JAutomatic aid given || | || [controled { Jf Lf i{ | Local option
5 []other ald given et LAS? UNIT: CLEARED, required except for wiidland fires
None : treident Number Last Unit 30 2008] 115:29:04 ‘Special Special

W Ex] : " Cleared [05] L J [. 1 | sao | Study IDi Study Value

 

( Actions Taken we

[12 _—'| [Bxtinguishment by fire |

Primary Actiod Taken (1)

Additional. Action Taken: (2)

L JL

Additional Action Taken (3)

 

Suppression | | | |

Resources + G2 Estimated pD

Check this box and ekip thig
section if an Apparatus or
Personnel form is used.

Apparatue Fersennel

G1
CO

Property §|

ollax Losses & Value:

LOSSES: required for ali fires ig known. Optional
fox non fires.

Non

 

Contents §]

 

ms] 0 ULL
Other | 0003 | |

Property $|

PRE-INCIDENT VALUE:

 

Check box if résource counts

include aid xeceived resources. | Contents $l

[-L__000];{ 000] Fy

J,L__000j,| 000) Oo
* Optional

Jel 000],|  o00f fy

I. | 000] | 600) Fy

 

 

 

Completed Modules
[x] Fire-2
[]sexucture-3

[[]civil Fire Cas.-4
[] Fixe Serv. Cas.-5

Fire
Service

Hi+«Casualties[_jone
Deaths Injuries .

LiL

H3 Hazardous Materials Release

Nw [[]None

LZ []Necural GaSs siev iesk, no cvauacion or Eaukat actioas
2 [Propane gas: <1: a. sank (as te Boos 200 geitt)

3 [[]¢asoline: webiele fuel: tank ox postable soutainer

 

Cms-s

 

4 [[]kerosene: sict mucatng oquipiait ox portable atocige

5 []itesel fuel/fuel oll:ventete suck tank.or poxtsbie
§ []eeusehold sclventa: pcec/oteica api, cloamp ently
fron engine ce pértable ceataiuer so
‘B [[]Patat: ceo paint cane totaling < 58 gelicaa

0 (other: Special Basieat ootions sequired ox spill > SSgal.,
ate the HasMat form

 

I Mixed Use Property

nw Not. Mixed

16 Assembly use
20 Education use
33 Medical use

40 Residential. use
SL Row of stores
53 Enclosed mall
5s Bug. & Residential
53s Office use

66 Industrial use
63 Military use
65 Farm use

00 Other mixed ude

 

 

 

Hz Detector
[]easuet-7 Required for Confined Pires.
(y]wiidiand Plre-~8 L[ pet alerted ke
[Xj Apparatus-9 7 []Motor oil:
{%] Personnel -16 2[[Joctector aid not alert then
[JArson~11 ol] takoown.
Structures

J Property Usex |

131 [(C]cnarch, place of worship

161 [[] Restaurant or cafeteria

‘162 []8axr/Tavern or nightclub

2i3 [_]Elementary school or kindergarten
215 []#igh achool or junior high

241 []College, adult education

311 [Care facility for the aged

331 [Hospital

341[ ]Clinic, Slinie type infirmary §39 [] Household goods, sales, repairs

342[]Doctor/dentist office
361[[]Priaon or jail, not juvenile
419[]4-or 2-family dwelling

429 [] Multi-family dwelling

439 []Rooming/boarding house

443 [|] Commercial hetel or motel
459 ["]Residential, board and care
464 []Dormitery/barracks

519 QO Food and beverage sales

571 [Gas or

579 -[]Motor vehicle/boat sales/xepair

service station

599 [] Business office
61s [] Hlectric generating plant
629 [] Laboratory/science lab
' 700 [] Manufacturing plant
8i9 [ytivestock/poultry storage (bara)
882 [] Non-residential parking garage

891 [] Warehouse

 

Outside -
124 []Playground or park
655 []crope ox orchard
663 []Forest (cimberland)
807 [_]oOutdeor storage area
919 [ ]Dump or sanitary Land£fil1
93h []open dand or fleld

‘sabody Fire dept

936 []vacant ot |

938 [raded/care for plot of land
546 []hake, river, stream

$51 []railroad right of way

$60 []other street

$61 []¥ighway/divided highway

862 [RX] Residential atreet /driveway

you have

03229

Lookup and enter a Proper!
E NOT checked a. Prey

Property Use

[Residential street, road or
NFIRS-i Revision 03/11/99

981 [] Construction site
984.[[] Industrial plant yard

Use code only iF
@ Property Uge box:

[962 j

05/30/2008 XX-XXXXXXX

 
seat Ease 1:09-cv-11806-FBS" Bocurent tea, Filed 08/28/13 Page 30 Sfta2 mae see |
9S |

 

 

 

Check ne ne ig Mr,,M8., Mere. Pirst Name MI Lagt. Mame aultin

dncident Location,

moro Lo | Lo mee! LS

Lines. ‘ re Prefix Street “ey Street Type Sulein
| | | | ]

 

Poat Office Box Apt./Suite/Room city

State gig Code
[] More people involved? Check this box and attach Supplemental Forme (NFIRS-18) as necessary

 

 

 

 

 

 

 

 

 

 

 

 

£2 owner [7] Het Se tite nee and ekip | Lf {-| I-|
the rest of this section. |
Local Option Businese name (if Applicable} Area Code Phone Number”
I j | | LOI | fe
“| Check chig box if Mr.,Ma., Mee, Firat Name ME Last’ Name suttin
game address ag
incident location | ; Ltt in |
aeltcace addxesa Number Prefix Street or Highway Street Type Buklix
‘Lines. 7
| ; | | | |
Post, Office Box apt. /Suite/Room = city
LJ | I-L |
State  gip Code
‘, Remarks
Local Option
kremington ; 2008/05/30 15:18:25 - Engine 7 AT EVENT MANNING Is 4
kremington ; 2008/05/30 15:18:06
SMALL MULCH FIRE DUE TO SMOKING MATERIALS. Extinguished with booster line by Engine 7 crew,
_ Manning Engine 1, at the Highlands apartment complex,..
5 Authorization
(4715 | {Xoulas, Gregory T | [CAPT | tE7 { |.05; £33} ] 2008;
Officer in charge ID Signature Position or raak Assignment Month = Day = Fear
ex te fe) [4725 | |Koulas, Gregory T {| [capt | [27 j L.95) [337 |2008]
er eeticer Meuber making report Ip Signature . Position or rank Assignment Month Day Year
m charge.

 

vabody Fire dept 03229 68/30/2008 XX-XXXXXXX
Harrative

 

_ Case 1-6 -cy-11806-EDS Document 181 Filed 08/28/13 Page 31 of 42

Narrative:
kremington ; 2008/05/30 15:18:25 - Engine 7 AT EVENT MANNING IS 4

kremington ; 2008/05/30 15:18:06
SMALL MULCH FIRE DUE TO SMOKING MATERIALS. Extinguished with booster line by Engine 7 crew,

manning Engine 1, at the Highlands apartment complex. .

 

sabody Fire dept 09223 05/30/2008 XX-XXXXXXX
 

 

Bo wLISGEEDS Document THT ciel AADETTS “page hits [lve actvty

| Bamic

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BorID . # :
B Locations CJredale ta section 3 *alperaetive location spaciticecion’. Use aady tos mileeee iss. Census Tract | I-L J
(X]Street address .
Ae eterweanion | 10] | | lo : SOK TRL | [ | L j
on £ tof Number/tilepest Prefix street or Bighvay Street Typa . Suffix
m front of .
near of { | [PEABODY j Ma] lorg60 = -|
° Apt./Suite/Room city State — Zip Cade
[adjacent te |
((}Pirections Crogs street or directions, as spplicable
CG Incident Type * 1 Date & Times Midnight is ‘0000 Ea Shift & Alar
1401 | [mulch rire [| Geck bones, it Month pay Year He Min See Local. option
wneident ‘Type game ag Alara ALARM always required [2 i
p Aid Given or Recéiveds pate; Alarm %& [og | 02) {| 2008][17:57:57 | shite or ‘Rares Distric
ALCOR
ARRIVAL required, unless canceled or did. not arrive
1 []Mutual aid received "
2 [JAutomatic aid xecv. |cneis romp Thelz CO ival we Log | 03) L__2008) (28:05:55 | E3
3 [[]metual aid given State COWPROLLED Optional, Except for wildland fires Special Studie
4 []Automatic aid given [[]Controlied | If I IL | Hacal Option
§ [Jother aid given : Their tact oe UNIT CLEARED, required except for wildland fires
. Ineldent Nusber @ ial
W fgjNons wleared | 06} [02] | 2008)[19:26:58 || stoay moe = BES Paty

 

 

fF Actions Taken *

jl2 | [Salvage &
Seiwary Action Taken (1)

| J |

Adaitional Action Taken (2)

| I |

Additional Action Taken (3)

Gi
0

overhaul {

 

Resources «

Check this box and skip thie
section if an ‘Apparatus. or
Personnel form ie used.

Aapparatue Personnel

Suppression | | | |
ms|  UdJLLL
{ Other | 6001) | |

Check -box if resource counte
include aid received resources.

Ga Estimated Dollar Losses & Valu

LOSSES? required for all fires if know. Optional
for non tires.

Property $s

Hor

 

Contents $l

 

PRE-INCIDENT VALUE:

Property $[

[-L_900],{_ 500]

|, 1..000].[ s00] Cc
Optional

{.[.002],[ 000] c

 

Contents $|

 

J.L__000}-| 000) 5

 

 

 

 

 

 

 

 

Completed Modules! tii. Casualties[pione |z73 Hazardous Materials Release |[ Mixed Use Propert:
[x] Fixe-2 Deaths Injuries {|N []None 0 Aepewbae use
[]structure-3 prntce i | | j 1 [[]Watural Gass siow rssh, no comsation oc Rastist actions 26 Education use
[civil Fire Cas.-4 2 [[JPropane gas: 42: a». case tas ae hone Bag grill) 33 [[)Medical use
[Fixe Serv. Cas.-5 Civilian| | | | 3 []¢asoline: vehicle fuel teak o pocteble ecatainer #9 Residential use
[] =us-e Fo Detector 4 [] Kerosene: fuel ramming equipaest ox portable storage a3 ential ores
[]#azMat~7 Required for Confined vires, |5 [JDdesel fuel/fuel of] :ventere soot cant ex porvabia| 58 [“us. & Residential
[[]Wiidliand Fire-s 1 pootecter alerted ecaupante [© []Household solvents: noscfoerice mpi, clsiaup oaty| 59 Office use
[x] Apparatus-9 - : 7 [[]Motor 011: soe caging or jorteble costatner go fadesteial use
[X] Personnel-10 2[[Jretector aia sot alert shen @ [[]Paint: cron patie onne totaling < $5 galleas 65 []rarn tee me
[xJ4reon-i1 to] waxnewa 6 [other: Specie) Mastiat sctione reqeired ex epill + SSgal., 00 [other mixed use
Structures 341 [[]Clinic, clinic type infizmary §39 (] Bousehold goods, sales, repairs

og Property Usex

131 []Church, place of

161 [] Restaurant or cafeteria

162 []Bax/tavern or nightclub

213 []Blementary school or kindergarten
215 []#igh scheol or junior high

241 [[] College. adult e

311 [_]Care facility for the aged

331 [ ]Bospital
Outside

124 []Playground or park

655 []crope or orchard

669 []Forest (timberland)

807 [Joutdoor storage
919 []Dump or sanitary

$37 [[Jopen land ox field

eabody Fire dept

342 [[]poctor/dentist office

worship

ducation

519 [[] Feed and beverage sales
936[]Vacant lot

946 []hake, river, stream

area
landfill

951 [Railroad right of way
$60 []other street

961 (]Bighway/divided highway
862 [ ]Residential atreet/driveway

361[]Pxieon or jail, not juvenile
419[]1-or 2-family dwelling
429 [KX] Multi-family dwelling

439 [] Rooming/bosrding house
449 [7] Commercial hotel or motel
459 []Residential, board and care
464 [| Dormitory/barracks

936 [_}6raded/care for plot of lan

579 []Motor vehicle/boat sales/repair

571 []Gas or service station

599 [] Business office

615 [] flectric generating plant
629 ["] Laboratory/science lab
700 [] Manufacturing plant

819 []ulvestock/poultry storage (bara)

882 [[] Non-residential parking garage
Bol. El Warehouse
981 [|] Construction site

Lookup and enter a Property

984 [] Industrial plant yard

Use code only if

you have NOY checked a Property Use box:

Property Use [428 |

03223

Multifamily dwelling
NFIRS-1 Re

Bion 03/11/99

06/01/2008 — XX-XXXXXXX
“FDID Gp

09229 chsclitdo.clegEhde idle 28¥edmely. aba! FilgPBROREREH pb LOO dy ao [sate |

Narrative:
cad ; 2008/06/01 18:05:55 ~ Engine 5 AT EVENT MANNING IS 3

cad ; 2008/06/01 18:00:48
BRUSH FIRE
cad ; 2008/06/01 19:01:06

K-3 on SCENE
E-5 crew investigated a mulch fire that. had been extinguished. While investigating we found

electrical wires to the AC unit had been burned through. We also overhauled the area pulling
off some siding and insulation to check for extension... We requested K3 to the scene after
several AC unite with burnt wires. The mulch fire location was behind Apt. 1019 of Overlook

Trail. MCM ITI

 

eabody Pire dept 09229 66/01/2008 XX-XXXXXXX
Case 1:09-cv-11806-FDS Document 181 Filed 08/28/13 Page 34 of 42

EXHIBIT C
Case 1:09-cv-11806-FDS Document 181 Filed 08/28/13 Page 35 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Qty Description of Property Value

1|Reed & Barlon jewelry $375.00
1|Bunny Baby Cup $25.00
1j;Reed & Barlon Tea Press $30.00 $30.00
1|Cup saucer Deco $30.00
{|misc clothing $281.86
1|cosmetic $34.50
i{misc clothing $281.86
{|Deco Baby Bottle $70.00
41|Deco Baby Block $27.30
4|{Deco Lisa Fram $28.31
> _ 1{Dyson Cleaner Vaccum $349.00
4|Mink Barber Jacket $5,995.00
1|Beaver Vest $1,295.00
1|Mink Coat (older) $1,000
1|Mink Coa (newer) $1,000
4 | Crystal Fox Jacket $1,000
1|White Armoire $697.00
1 jLeather Sofa $1,098.00
{|Leather Chair $798.00
1|Leather Oitanan $348.00
i[Nightstand $297.00
1jEntertainment vault $549.00
1|/Bose (Wave} Music Systems $499.00
1|Diamond Earrings $399.00
4|Studdard Show Radiacles $407.60
i|ict Diamond Pendant $1,315.00
1}Swarowski Crystal Beav w.Nautical Deco $90.00
1|14 ct Gold Earrings $120.00
1|14 ct Diamond Ring and Citrine $447.00 $447.00
1|14 ct Gold Earrings $315.00
1|14 k Gold Emerald and Diamond Ring $230.00
1|Gold Metal. Charm $63.00
114 K Gold purse with Emerald Charm $112.00
1|14.K Tennis Racket w Pearl Charm $50.00
1|14K Cross Pendant 72 C Diamond $800.00
1|14K 16 Cross Pendant 6 diamond (72C) $775.00
1|14 K Gold Dog Charm $80.00
1] 14K Long Wavy Earrings $85.50
1|14 Gold Flip Flop Charm $60.00
1|Crystal Swarowski Ware $236.00
1|Tornado Votive Candle $22.50
4114. K Gold Grad Cap Charm $120.00
114 K Large Open Hoop Earrings $230.00
1|Century House Dining Table Chardeau Collection $3,450
2}|Arm Chairs Chardeau Collection $2,350.00
4|Side Chave Chardeau Collectiojn $4,388.00
i1|Server Chadeau Collection $2,725.00
1|Wrought Iron one Glass Sofa Table $300.00
1}Wrought iron and Glass End Table $275.00
1 |Wrought Iron and Glass Coffe Table $350.00
12|Lenox Aristrocrat china 5 Pc place setting $5,116.44

 

 

 
Case 1:09-cv-11806-FDS Document 181 Filed 08/28/13 Page 36 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1|Lenox Aristocrat open vegetable bow! $385.00
ij{Lenox Aristrocrat large oal platter $694.50
ijLenox Aristocrat Large Sugar bow! wi/lid $351.50
12|Waterford Castletown stemware Golder $2,400.00
12|Waterford Castletown Clarent Glass q $2,400.00
12|Waterford Stemware $2,400
12|Waterford Castletown stemware Saucer $2,400
12]|Waterford Castletown Liquor Glasses $1,860.00
12|Sterling Silver Flatware 5 place settings $2,500
61|Sterling Silver Flatware seventy pieces $2,500
1,{Alcove HPPavilion Media PC $1,295 .00
1|Alcove HP Expansion Base $249.00
1|Digitial Design M Box Factory Sw $549.00
1\Alcove HP3 in 1 Printer $149.00
1|Alcove Sandisk SD Date Card $59.00
1|Alcove Wireless Key and Mouse o $99.00
1jNotebook Attach and Organizer $39.00
1|Canon Digital Wave Recorder $99.00
1|Sony Headphones Noise Couc $59.00
1|HP Powered Speakers for.PC $49.00
1|Swarowski Deco Lg Tulip $199.00
1|Swarowski Deco Rose arrangement $159.00
1|Swarowski Deco Starfish $99.00
4|Crystal Desk Lamp Alcove $100.00
4|Misc Office Supplies $30.00
1|Verizon Ethenier Modem $59.00
1|Deco Glass Paperweight $10.00
1|Deco Glass Paperweight . $10.00
12)\Picture Frames $200.00
1|Goldleaf Heirloom Mirror - - - $7150.00
jijLiadiocatandmouseDeco = ——r=—s«s ||—i‘(‘ié!.. C$100.00
1|Ceramic Cavalier Dog Deco $20.00
50|Numerous Books (app 50) $300.00
1|Coat Closet Fox Cellar Wool Coat $280.00
1|Black Leather Jacket $200.00
1|Red Letter Jacket Alfani $300.00
1}Green Wool ct w suede collar and cuffs $280.00
i[London Fog Raincoat $100.00
1{Black Wool swing coat hooked fox trim $250
1|Coach Umbrella $58.00
1|Decorative Metal Chair $150.00
1|Metal Bicycle $20.00
1|2 drawer metal file cabinet $80.00
41Coach dog leather leash red $29.00
1|Retractable Dog leash $30.00
1|Collapsible Metal Dog coverdd pen $50.00
1|Foyer Ceramic umbrella stand $45.00
1|Antique Seth Thomas Wall Clock $500.00
1|China Planter $50.00

 

 

 

 

 
Case 1:09-cv-11806-FDS Document 181 Filed 08/28/13 Page 37 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1{Hall Table Cherry $125.00
1|Glass and Brass Sofa Table $250.00
1|Gold leaf china bowl : $80.00
1|Lladro Mother and child Deco $200.00
1|Lladro Mother and baby Deco $140.00
1|Gold Leaf Hall Mirror $80.00
4)|Gold Leaf framed Angel Prints $100.00
1|Gold Wood Framed Rounder Print $40.00
4|Brass and Porcelain Bed Full $256.00
1|Full Size Mattress bed sprung $750.00
1|Designer Bedroom and lines set $595.16
1}Wooden Desk white and chair $250.00
1|Wooden Framed Floor Mirror Stand $30.00
1|Framed Watercolor Orginal $120.00
4{Wooden Wall Shelf White $20.00
1|Collection Fairy Francess Ireland $500.00
1|Bellfeck Angel $75.00
4 {Llardo child with dog deco : $75.00
1|Wooden Dresser Solid Maple White $250.00
1|Wooden Bookcase White 4 Shelf $100.00
41|Waterford Cat and Ball deco $100.00
11 Waterford Crystal Clock ‘ = a $130.00
1|Black Leather Jacket . $120.00
1|Misc Clothing Sabrina $2,000
10|Coach Designer Handbags $2,000
2|Juicy Couture Designer Handbags $400.00
1|Prada Designer bags $225.00
3{Dooney andf Burke bags $500.00
1) Dior Designer Sunglasses $250.00
1[|Versace Designer Sunglass $550.00
20}Shoes misc styles $1,000
2{Coach Designer Scarves _ a. $100.00
1}Coach Designer Visor $30.00
1{Sony. 36" inch LCD TV $1,154.99
1|Samsung LCD TV $900.00
1;Sony DVD./VHS Player Recorder $299.00
1|Sonicare Deluxe 2 Head toothbrush $224.00
1|3 handset wireless phones V-Tech $99.00
Misc Cosmetics Sabrina $300.00
1,22" Japanese Akolp pearl necklace $5,495.00
1|Diamond Platinum ring 4.4 ct diamonds $26,600.00
1|18 ct Jose Hess diamond ring 1.65 ct $4,605.00
1|14 ct Gold Diamond Stud Earrings 1.82 ct $6,975.00
1|14 Goid Diamond Stud Earrings .34 $430.00
114 Gold Diamond Stud Earrings .42 $735.00
1|14ct 8 inch Bracelet $1,125.00
1118 ct Robert Gold diamond bracelet 1.46 $3,895
1,18 in 14k garnet and diamond necklace $355.00
1|i18K Roberts coin bracelet .22 ct diamonds $4,210.00
1) 14 K triple hoop earrings $150.00
1} 7.25 ct tanzanite diamond ring $5,000.00
1|14 K Gennar Shepherd chain $176.40

 

 
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1|14K Wedding Charm $81.90
1|7 in 14 K Garibaldi link bracelet $382.50
1/16 in 14k gold Box chain $36.00
1|Waterford Baby Block Crystal $40.00
1/14 K 8 in Figaro Bracelet $162.00
1| Raymond Weil Watch $400.00
1114 k 8/12.in Gold TT Bracelet $620.00
1114 K oval cufflinks $414.00
1114 K Happy Birthday Charm $117.00
1|Swarowski Crystal German Shepard $105.00
1|14K St Christopher Necklace $108.00
1414 K Cat wi/yarn charm $750.00
1|14K 15in Pearl and Diamond necklance $31.50
1|14K Holy Communion Chain $50.00
1|Christmas Tree $90.00
1|14K twist Cape Cod $72.06
1|Drocel Heritage Dresser and Mirror Guard coll $3,000.00

TOTAL this sheet $144,144.32

 

 

 

 

 
 

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